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                                                                                 ALBUQUERQUE, I,IEW MEXICO


                              IN THE UNITED STATES DISTRICT COURT                          AUG   26    2021

                                FOR THE DISTRICT OF NEW MEXICO                      MITCHELL H" E[-FERS
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TINITE,D STATES OF AMERICA,

                 Plaintiff,                                   cRIMINALNo.       MJ Ll'lLb'l eV
        vs.                                                   Count 1: 16 U.S.C. $$ 703 and707(a), and 50
                                                              C.F.R. $ 10.13, A Violation Of The Migratory
DILLON RAY EUSTACE,                                           Bird Treaty Act (Class B Misdemeanor)

                 Defendant.



                                            INFORMATION

The United States Attorney charges:

                                                 Count   1



       On or about November 28, 2019, in Sandoval County, in the District of New Mexico, the

defendant,   DILLON R EUSTACE, did pursue, hunt, take, capture, kill,           and attempt to take,

capture, and   kill   any non-game migratory bird, to wit: a Gyrefalcon (Falco Rusticolus).

       In violation of 16 U.S.C. $$ 703 and707(a), and 50 C.F.R. $ 10.13.




                                                             FRED J. FEDERICI
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